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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS


***************************
Amber Rucker

                 Plaintiff
                                                    CIVIL ACTION NO.:
                 v.                                   20-11761-NMG


Harvard T.H. Chan School of Public Health

         Defendant
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                               JUDGMENT
                             August 16, 2022

Gorton, D.J.

In accordance with the Memorandum & Order entered on August 16, 2022,
ALLOWING the Defendant’s Motion for Summary Judgment.

This case is hereby DISMISSED.

SO ORDERED.

                                  /s/Nathaniel M. Gorton
                                  NATHANIEL M. GORTON
                                  United States District Judge
